    Tasks Required to Prepare Case for Confirmation
             (Identified at the §341 Meeting closed (3/18/2019)

Jacob Loturco,                                        Case No.: 19-20083-PRW
David Ealy, Esq.


The Debtor(s) must provide the following to the Trustee:

          Appraisal:
                   Real Estate                                    __________
                      Address:__________________
                   Other_______________________                   __________
                                                                  __________

          Bank Statements as of the date of filing:___________    __________


          Business Valuation:                                     __________
                    Appraisal _____________________
                    Cashflow Statements ____________

          Cause of Action Attorney Information:                   __________


          Certificate of Titles:
                    Title(s)                                      __________
                        __________________________
                        __________________________
                        __________________________
                    Purchase Contract                             __________
                    Loan Completion Date                          __________

          Domestic Support Obligation Form:                       __________

         File and/or Amend:
                   Schedule A______________                 __________
                   Schedule B______________                 __________
                   Schedule C______________                 __________
                   Schedule D______________                 __________
                   Schedule E______________                 __________
                   Schedule F______________                 __________
                   Schedule G______________                 __________
                   Schedule H______________                 __________
                   Schedule I_______________                ____X_____
                   Schedule J_______________                __________
                   B22C Statement                           __________
                   Amend Plan                               ____X_____
                   Serve Plan                               ____X_____
                   Adequate Protection Statement            ____X_____
                   Chapter 13 Checklist                     __________
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           File Motion:
                    §506                                                    ___________
                    §522 (f)                                                ___________
                    Other                                                   ___________

           Mortgage:
                   Recorded Deed                                            ___________
                   Mortgage                                                 ___________


           Proof of Claim(s): Attorney Review                               ___________
                     _______________________________

           Review Attorney Fees:
                   File 2016 B Statement                                    _____X____
                   Provide Time Records                                     __________
                   Compare fees to the unsecured creditors amount           __________
                   Compare fees to the suggested No-Look Fee                __________


           §546 Stipulation Information:                                    __________

           Other:
                    A letter sent to the Judge regarding indebtedness       _________
                    An accounting of how proceeds were used                 _________
                           __________________
                    Notification of surrender efforts                       _________
                    Provide original proof of social security number        _________
                    Re-Notice Confirmation                                  _________
                    Proof of Insurance on Property
                    ___________SOFA 27_______________                       _____X____

                    _____UPDATED COLL PASS THRU___                          _____X____

This is not an exclusive task list and should be used only as an informational tool for both
the debtor(s) and their counsel in preparation for the confirmation hearing.

The Trustee may request that the Court order a reduction in attorneys fees at the
confirmation hearing, if the tasks identified above are not timely completed.

                                                                  George M. Reiber
                                                                  Chapter 13 Trustee

GMR/lmc




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